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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MARLON BROWN,

              Plaintiff,                         CIVIL ACTION FILE
v.                                               NO. 1:21-CV-00010-SDG

PATRICK DAVID FLUELLEN.

              Defendant.


     PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS AND
              CORPORATE DISCLOSURE STATEMENT

      Pursuant to Local Rule 3.3, Plaintiff Marlon Brown (“Plaintiff”) files

herewith a Certificate of Interested Persons and Corporate Disclosure Statement:

                                          1.

      The undersigned counsel of record for Plaintiff certifies that the following is

a full and complete list of all parties in this action, including any parent

corporation and any publicly held corporation that owns 10% or more of the stock

of a party:



     N/A
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                                              2.

      The undersigned further certifies that the following is a full and complete list

of all other persons, associations of persons, firms, partnerships, or corporations

(including those related to a party as a subsidiary, conglomerate, affiliate, or parent

corporation) having either a financial interest in or other interest which could be

substantially affected by the outcome of this particular case:

      A.     Harry M. Daniels

      B.     Khalil C. Eaddy

      C.     Daniels and James, LLC

      D.     Marlon Brown

      E.     Patrick David Fluellen

      F.     Freeman Mathis & Gary, LLP

      G.     Jack R. Hancock

      H.     A. Ali Sabzevari




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                                                3.

        The undersigned further certifies that the following is a full and complete list

  of all persons serving as attorneys for the parties in this proceeding:

        A.     For plaintiff:

               Harry M. Daniels
               Khalil C. Eaddy
               Daniels and James, LLC

        B.     For defendant:

               Jack R. Hancock
               A. Ali Sabzevari
               Freeman Mathis & Gary, LLP


      This 13th day of October 2021.

                                                     /s/Harry M. Daniels
                                                     Harry M. Daniels
                                                     Ga Bar No. 234158
                                                     Khalil Eaddy
                                                     Ga Bar No. 245157

Daniels and James, LLC

233 Peachtree St Ne Suite 1200
Atlanta, Georgia 30303
Tel. 678-664-8529
Fax. 800-867-5248
daniels@danielsjameslaw.com
khalil@danielsjameslaw.com




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                             CERTIFICATE OF SERVICE

I hereby certify that I have served the foregoing PLAINTIFF’S CERTIFICATE OF

INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT to the

Clerk of Court using the CM/ECF system which will automatically send electronic

mail notification of such filing to counsel of record:


                         FREEMAN MATHIS & GARY, LLP

                                   A. Ali Sabzevari
                                   Jack R. Hancock
                                jhancock@fmglaw.com
                                     Ali Sabzevari
                               asabzevari@fmglaw.com

                       661 Forest Parkway, Suite E Forest Park,
                                    Georgia 30297
                             (404) 366-1000 (telephone)
                              (404) 361-3223 (facsimile

      This 13th day of October 2021.

                                                /s/Harry M. Daniels
                                                Harry M. Daniels
                                                Ga Bar No. 234158

Daniels and James, LLC
233 Peachtree St Ne Suite 1200
Atlanta, Georgia 30303
Tel. 678-664-8529
Fax. 800-867-5248
daniels@danielsjameslaw.com
khalil@danielsjameslaw.com


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